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1      CENTER FOR DISABILITY ACCESS
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7
8                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
9
10
       Andres Gomez,                            Case No.
11
                 Plaintiff,
12                                              Complaint for Damages and
         v.                                     Injunctive Relief for Violations
13                                              of: American’s With Disabilities
       Gidel & Kocal Construction Co.,          Act; Unruh Civil Rights Act
14     Inc., a California Corporation
                                                NOT RELATING TO A
15               Defendant.                     CONSTRUCTION-RELATED
                                                BARRIER AS DEFINED IN CAL.
16                                              CIV. CODE § 55.3

17
18         Plaintiff Andres Gomez (“Plaintiff”) complains of Gidel & Kocal

19   Construction Co., Inc.; a California Corporation (“Defendant”), and alleges as

20   follows:

21
22     PARTIES:

23     1. Plaintiff is a visually-impaired individual and a member of a protected

24   class of persons under the Americans with Disabilities Act. Plaintiff Talkback

25   or similar software to navigate websites and applications on electronic devices.

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1    Plaintiff is legally blind1 and cannot use an electronic device without
2    assistance of screen-reader software (“SRS”).
3        2. Defendant Gidel & Kocal Construction Co., Inc.; a California
4    Corporation (“Gidel & Kocal Construction Co., Inc.”), owned or operated
5    Gidel & Kocal located in Santa Clara County, California, in March 2021 and
6    August 2021.
7        3. Defendant Gidel & Kocal Construction Co., Inc. owns or operates Gidel
8    & Kocal located in Santa Clara County, California, currently.
9        4. Defendant Gidel & Kocal Construction Co., Inc. owned or operated
10   Gidel & Kocal website, with a root domain of: https://www.gidelkocal.com/,
11   and all related domains, sub-domains and/or content contained within it,
12   (“Website”) in March 2021 and August 2021.
13       5. Defendant Gidel & Kocal Construction Co., Inc. owns or operates Gidel
14   & Kocal website currently.
15       6. Plaintiff does not know the true names of Defendants, their business
16   capacities, their ownership connection to the property and business, or their
17   relative responsibilities in causing the access violations herein complained of,
18   and alleges a joint venture and common enterprise by all such Defendants.
19   Plaintiff is informed and believes that each of the Defendants herein, is
20   responsible in some capacity for the events herein alleged or is a necessary
21   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
22   the true names, capacities, connections, and responsibilities of the Defendants
23   are ascertained.
24
25
26   1
      Plaintiff uses the terms “visually-impaired” or “blind” interchangeably to
27   refer to individuals, including himself, who meet the legal definition of
28   blindness. (visual acuity of 20/200 or worse.) Some individuals who meet
     these criteria have no vision, others have limited vision.

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1    JURISDICTION & VENUE:
2      7. The Court has subject matter jurisdiction over the action pursuant to 28
3    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
4    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (“ADA”)
5      8. This court has supplemental jurisdiction over Plaintiff’s non-federal
6    claims pursuant to 28 U.S.C. § 1367 because Plaintiff’s Unruh claims are
7    formed from the same case and/or controversy and are related to Plaintiff’s
8    ADA claims. A violation of the ADA is a violation of Unruh. (Cal. Code §51(f)).
9      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b). Defendant
10   is subject to personal jurisdiction in this District due to its business contacts
11   with the District, and a substantial portion of the complained of conduct
12   occurred in this District.
13
14     FACTUAL ALLEGATIONS:
15     10. Plaintiff is a legally blind person and a member of a protected class
16   under the ADA. Plaintiff is proficient with and uses SRS to access the internet
17   and read internet content on computers and mobile devices.
18     11. Plaintiff cannot use a computer without the assistance of screen reader
19   software. (“SRS”).
20     12. Gidel & Kocal Construction Co., Inc. operates privileges, goods or
21   services out of a physical location in California. These services are open to the
22   public, places of public accommodation, and business establishments.
23     13. The Website is a nexus between Gidel & Kocal Construction Co., Inc.
24   customers and the terrestrial based privileges, goods or services offered by
25   Gidel & Kocal Construction Co., Inc.
26     14. Gidel & Kocal Construction Co., Inc. offers websites and digital booking
27   as some of the facilities, privileges, and advantages offered by Defendants to
28   patrons of the Gidel & Kocal Construction Co., Inc. in connection with their


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1    patronage at the Gidel & Kocal Construction Co., Inc.
2      15. Among the services offered include: details about the purchase of
3    vehicle and the Gidel & Kocal Construction Co., Inc. itself, location and
4    contact information; Gidel & Kocal Construction Co., Inc., policies;
5    information about vehicle, deals and promotions without any ambiguity as to
6    the amenities that would be available to the patron.
7      16. Plaintiff was a prospective customer who wished to access Defendant’s
8    goods and services of the Gidel & Kocal Construction Co., Inc.
9      17. Plaintiff visited the Website in March 2021 and August 2021 in search
10   of a car dealership to perhaps visit this location with my girlfriend and
11   potentially purchase a vehicle, during my stay in California Since I was
12   considering going to northern California since I have family and friends who
13   live there. I also wanted to check cars and vehicle-related information on this
14   website including but not limited to buying a car online car details, prices,
15   special offers, and promotions, as well as other information the website may
16   provide.
17     18. When Plaintiff attempted to navigate the Website, Plaintiff encountered
18   numerous accessibility design faults that prevented him from navigating the
19   site successfully using SRS. Investigation into his experience revealed barriers,
20   including, but not limited to:
21                   a. Images on the website lack a text equivalent readable by
22                       SRS.
23                   b. Navigation headings lack information to enable keyboard
24                       or screen reader users to navigate with context.
25                   c. The visualization of the webpage contains impermissibly
26                       low contrast enabling differentiation of background and
27                       foreground elements.
28                   d. The visualization of the webpage contains impermissibly


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1                          low contrast enabling differentiation of background and
2                          foreground elements.
3      19. These inaccessible elements rendered the ostensibly “accessible”
4    elements inaccessible as a result of difficulty and confusion navigating the
5    numerous inaccessible elements.
6      20. Currently, the defendants either fail to provide an accessible website or
7    Defendants have failed to maintain in working and useable conditions those
8    website features required to provide ready access to persons with disabilities.
9      21. Despite multiple attempts to access the Website using Plaintiff’s
10   computer and mobile device, Plaintiff has been denied the full use and
11   enjoyment of the facilities, goods and services offered by Defendants as a
12   result of the accessibility barriers on the Website.
13     22. Plaintiff personally encountered accessibility barriers and has actual
14   knowledge of them.
15     23. By failing to provide an accessible website, the defendants denied
16   Plaintiff full and equal access to the facilities privileges or advantages offered
17   to their customers.
18     24. Plaintiff has been deterred from returning to the Website as a result of
19   these prior experiences.
20     25. The failure to provide accessible facilities created difficulty and
21   discomfort for the Plaintiff.
22     26. If the website had been constructed equally accessible to all individuals,
23   Plaintiff would have been able to navigate the Website and find information on
24   rent and purchase of vehicle.
25     27. Additionally, Plaintiff is a tester in this litigation and seeks future
26   compliance with all federal and state laws. Plaintiff will return to the Website
27   to avail himself of its goods and/or services and to determine compliance with
28   the disability access laws once it is represented to him that the Gidel & Kocal


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1    Construction Co., Inc. and Website are accessible.
2      28. Plaintiff is currently deterred from doing so because of Plaintiff’s
3    knowledge of the existing barriers and uncertainty about the existence of yet
4    other barriers on the Website. If the barriers are not removed, Plaintiff will
5    face unlawful and discriminatory barriers again.
6      29. The barriers identified above violate easily accessible, well-established
7    industry standard guidelines for making websites accessible to people with
8    visual-impairments that use SRS to access websites. Given the prevalence of
9    websites that have implemented these standards and created accessible
10   websites, it is readily achievable to construct an accessible website without
11   undue burden on the Gidel & Kocal Construction Co., Inc. or a fundamental
12   alteration of the purpose of the Website.
13     30. Compliance with W3C Web Content Accessibility Guidelines
14   (“WCAG”) 2.0 AA standards are a viable remedy for these deficiencies and a
15   standard that has been adopted by California courts for website accessibility.
16     31. It’s been established that failure to remove these inaccessible conditions
17   violates the ADA and California law and requiring compliance with industry
18   access standards is a remedy available to the plaintiff.
19     32. The Website was intentionally designed, and based on information and
20   belief, it is the Defendants’, policy and practice to deny Plaintiff access to the
21   Website, and as a result, denies the goods and services that are otherwise
22   available to patrons of the Gidel & Kocal Construction Co., Inc.
23     33. Due to the failure to construct and operate the website in line with
24   industry standards, Plaintiff has been denied equal access to Defendant’s
25   Gidel & Kocal Construction Co., Inc. and the various goods, services,
26   privileges, opportunities and benefits offered to the public by the Gidel &
27   Kocal Construction Co., Inc.
28     34. Given the nature of the barriers and violations alleged herein, the


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1    plaintiff alleges, on information and belief, that there are other violations and
2    barriers on the website, and/or at the Gidel & Kocal Construction Co., Inc. that
3    relate to his disability. In addition to the barriers he personally encountered,
4    Plaintiff intends to seek removal of all barriers on the Website that relate to his
5    disability. See Doran v. 7-Eleven (9th Cir. 2008) 524 F.3d 1034 (holding that
6    once a plaintiff encounters one barrier, they can sue to have all barriers that
7    relate to their disability removed regardless of whether they personally
8    encountered the barrier).
9      35. Plaintiff will amend the complaint, to provide further notice regarding
10   the scope of the additional demanded remediation in the event additional
11   barriers are uncovered through discovery. However, please be on notice that
12   the plaintiff seeks to have all barriers related to his disability remedied.
13
14
15   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
16   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
17   Defendants.) (42 U.S.C. section 12101, et seq.)
18     36. Plaintiff re-pleads and incorporates by reference, as if fully set forth
19   again herein, the allegations contained in all prior paragraphs of this
20   complaint.     The Gidel & Kocal Construction Co., Inc. is a public
21   accommodation with the definition of Title III of the ADA, 42 USC § 12181.
22     37. The website provided by the Defendant is a service, privilege or
23   advantage and extension of Gidel & Kocal Construction Co., Inc. physical
24   presence and terrestrial services.
25     38. When a business provides services such as a website, it must provide an
26   accessible website.
27     39. Here, an accessible website has not been provided. A failure to provide
28   an accessible website is unlawful discrimination against persons with


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1    disabilities.
2      40. Under the ADA, it is an act of discrimination to fail to ensure that the
3    privileges, advantages, accommodations, facilities, goods and services of any
4    place of public accommodation is offered on a full and equal basis by anyone
5    who owns, leases, or operates a place of public accommodation. See: 42 U.S.C.
6    § 12182(a). Discrimination is defined, inter alia, as follows: “A failure to make
7    reasonable modifications in policies, practices, or procedures, when such
8    modifications are necessary to afford goods, services, facilities, privileges,
9    advantages, or accommodations to individuals with disabilities, unless the
10   accommodation would work a fundamental alteration of those services and
11   facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).”
12     41. Here, the failure to ensure that the accessible facilities were available
13   and ready to be used by the plaintiff is a violation of the law.
14     42. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
15   set forth and incorporated therein, Plaintiff requests relief as set forth below.
16
17   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
18   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
19   Code § 51-53.)
20     43. Plaintiff repleads and incorporates by reference, as if fully set forth
21   again herein, the allegations contained in all prior paragraphs of this
22   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
23   that persons with disabilities are entitled to full and equal accommodations,
24   advantages, facilities, privileges, or services in all business establishment of
25   every kind whatsoever within the jurisdiction of the State of California. Cal.
26   Civ. Code §51(b).
27     44. The Unruh Act provides that a violation of the ADA is a violation of the
28   Unruh Act. Cal. Civ. Code § 51(f).


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1      45. Defendants’ acts and omissions, as herein alleged, have violated the
2    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
3    rights to full and equal use of the accommodations, advantages, facilities,
4    privileges, or services offered.
5      46. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
6    discomfort or embarrassment for the plaintiff, the defendants are also each
7    responsible for statutory damages, i.e., a civil penalty. Cal. Civ. Code §
8    55.56(a)-(c).
9      47. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
10   set forth and incorporated therein, Plaintiff requests relief as set forth below.
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16          PRAYER:
17          Wherefore, Plaintiff prays that this Court award damages and provide
18   relief as follows:
19       1. A Declaratory Judgment that at the commencement of this action
20   Defendants were in violation of the requirements of the ADA due to
21   Defendants’ failures to take action to ensure that its Website was fully
22   accessible to and independently usable by blind and visually-impaired
23   individuals.
24       2. For equitable nominal damages for violation of civil rights. See
25   Uzuegbunam v. Preczewski, 141 S.Ct. 792 (2021) and any other equitable
26   relief the Court finds appropriate.
27       3. Pursuant to 42 U.S.C § 12181, a preliminary and permanent injunction
28   enjoining Defendants from violating the ADA with respect to its website.


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1          4. Damages under the Unruh Civil Rights Act § 512, which provides for
2    actual damages and a statutory minimum of $4,000 for each offense.
3          5. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
4    to 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
5
6    Dated: March 3, 2022                CENTER FOR DISABILITY ACCESS
7
8
                                         By: ______________________________
9
                                         Amanda Seabock, Esq.
10                                       Attorney for Plaintiff
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27       Note: the plaintiff is not invoking section 55 of the California Civil Code and
28   is not seeking injunctive relief under the Disabled Persons Act at all.


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